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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                             HONORABLE MARCIA S. KRIEGER

 Courtroom Deputy:      Patricia Glover          Date: October 17, 2012
 Court Reporter:        Terri Lindblom
 Probation Officer:     Michelle Means

 Criminal Action No. 12-cr-00010-MSK

 Parties:                                         Counsel:

 UNITED STATES OF AMERICA,                        Guy Till

                Plaintiff,

 v.

 JOHNIE A. MYERS,                                 Normando Pacheco

                Defendant.

                            SENTENCING MINUTES
 ______________________________________________________________________________

 9:02 a.m.      Court in session.

 Defendant present on bond.
 Change of Plea Hearing on June 21, 2012. Defendant pled guilty to Count 32 of the
 Superseding Indictment.

 Parties received and reviewed the presentence report and all addenda.

 The parties do not dispute the facts contained in the presentence report.

 The parties do not dispute the calculation of the sentence under the Federal Sentencing
 Guidelines as set forth in the original presentence report.

 The Government does request departure (Doc. #684). Argument.

 The defendant does contend that the sentence should be different from that calculated under the
 Sentencing Guidelines in light of the sentencing objectives set forth in 18 U.S.C. Section
 3553(a). (Doc. #642) Argument.

 Allocution. - Statements made by: The defendant.

 After consideration of the provisions of 18 U.S.C. 3553 (a), the Court announces the sentence it
 intends to impose as reflected in the record. Counsel are offered the opportunity for further
 argument. No further argument.
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 Sentencing Minutes
 Judge Marcia S. Krieger
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 ORDER:         The Government’s Motion for Downward Departure (Doc. #684) is GRANTED.
                The Defendant’s Motion of Non-Guideline Sentence (Doc. #642) is GRANTED.

 THE DEFENDANT IS SENTENCED AS REFLECTED IN THE RECORD.

 The defendant is advised of his right to appeal.

 ORDER:         Bond is exonerated.

 9:40 a.m.      Court in recess.

 Total Time: 38 minutes.
 Hearing cconcluded.
